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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION


    JASON C. CALLICOTTE, et al,                    §     CIVIL ACTION NO. 4:20-cv-1369
    (SPN 01401470)                                 §
                   Plaintiffs,                     §
                                                   §
                                                   §
                    vs.                            §     JUDGE CHARLES ESKRIDGE
                                                   §
    ED GONZALEZ, et al,                            §
                Defendants.                        §


                  PLAINTIFFS’ FIRST AMENDED COMPLAINT
                   FOR TEMPORARY RESTRAINING ORDER,
                DECLARATION AND PRELIMINARY INJUNCTION 1


                           I.      JURISDICTION AND VENUE

      1. This is a civil action brought pursuant to 42 USC 1983 to redress the deprivation,
         under color of state law, of rights secured by The Constitution of The United States.
         Plaintiffs bring this suit on their own behalf and on behalf of a class consisting of
         all inmates/detainees in the Harris County Jail who are vulnerable to the COVID-
         19 illness because of underlying conditions and who defendants are treating with
         deliberate indifference in regard to their serious medical need of proper prevention
         measures to minimize the risk of contracting COVID-19. The class is so numerous
         that joinder of all members is impractical, and there are questions of law and fact
         common to the class. The court has jurisdiction under 28 USC 1331 and 1343
         (a)(3). Plaintiff seeks declaratory relief pursuant to 28 USC 2201 and 2202.
         Plaintiffs’ claims for injunctive relief are authorized by 28 USC Section 2283 and
         2284 and Rule 65 of the Federal Rules of Civil Procedure.

      2. The Southern District of Texas, Houston Division is an appropriate venue under 28
         USC Section 1391 (b)(2) because it is where the events giving rise to this claim
         occurred.



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        Other than this footnote and a link on page 3, the entirety of this document is a
verbatim typed transcription of Plaintiffs’ original complaint at Document 1 (with their
original verification and evidence attached).
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 3. The parties defendant have acted on grounds generally applicable to the class as a
    whole so that the class may be certified pursuant to rule 23 (b) (2) of the Federal
    Rules of Civil Procedure.


                                 II.         PLAINTIFFS

 4. Plaintiff, Jason Callicotte, is now and was at all relevant times a detainee of the
    Harris County Jail in Houston, Texas.

 5. Plaintiff, Bryant Davis, is now and was at all relevant times a detainee of the Harris
    County Jail in Houston, Texas.

 6. Plaintiff, Christian Mejia, is now and was at all relevant times a detainee of the
    Harris County Jail in Houston, Texas.

 7. Plaintiff, Ronnie Williams, is now and was at all relevant times a detainee of the
    Harris County Jail in Houston, Texas.

 8. Plaintiff, Ashton Wilson, is now and was at all relevant times a detainee of the
    Harris County Jail in Houston, Texas.


                                III.     DEFENDANTS

 9. Defendant Ed Gonzales is the Sheriff of Harris County, Texas. He is legally
    responsible for the overall operation of Harris County Sheriff’s Office.

 10. Defendant, Darryl Coleman, is the Chief Deputy of Harris County and the jail
     administrator of Harris County Jail. He is responsible for the operation of Harris
     County jail and the welfare of all detainees in that jail.

 11. At all times mentioned in this complaint each defendant acted under the color of
     state law.


                                       IV.     FACTS

 12. On March 11, 2020 the World Health Organization officially classified COVID-19
     as a global pandemic. The Center for Disease Control (CDC) identified certain
     categories of individuals at a higher risk of severe illness, including older adults (65
     or older) and people of any age who have underlying medical conditions as a higher
     risk for severe illness from COVID-19.

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          See CDC, People Who Are At Higher Risk For Severe Illness at
          https://cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-
          higher-risk.html, Conditions of pretrial confinement create an ideal
          environment for the transmission of a contagious disease. See Clinical
          Infectious Diseases (2007) Joseph A. Bick 45(8): 1047-1055 at
          https://doi.org/10.1086/521910
                 United States v. Stephens, 2020 US Dist. Lexis 47846
                 United States v. Kennedy, 2020 US Dist. Lexis 53359
                 United States v. Barkman, 2020 US Dist. Lexis 53632
                 United States v. Roman, 2020 US Dist. Lexis 53956
          Inmates cycle in and out of detention facilities from all over the world and
          county, and people who work in the facilities, including correctional
          officers and care providers leave and return daily, without screening.
          Incarcerated people have poorer health than the general population, and
          even at the best of times medical care is limited. Many people who are
          incarcerated also have chronic conditions such as diabetes, high blood
          pressure, hepatitis or HIV, which makes them vulnerable to severe forms of
          COVID-19.
                 See United States v. Barkman, 2020 US Dist. Lexis 45628
          On March 29, 2020 the Houston Chronicle reported that six employees of
          Harris County Jail have tested positive for the COVID-19 (to date the
          number has increased). Also on March 29, 2020 Fox 26 News reported that
          an inmate had tested positive for COVID-19 in Harris Co. Jail (to date that
          number has increased exponentially as well). According to public health
          experts “incarcerated individuals are at special risks of infections given their
          living situations” and “may also be less able to participate in proactive
          measures to keep themselves safe because infection, control is challenging
          in these situations.”
                 See Achieving Fair and Effective COVID-19 Response at
                 [https://www.amnestyusa.org/our-work/government-
                 relations/advocacy/achieving-a-fair-and-effective-covid-19-
                 response-an-open-letter-to-vice-president-mike-pence-and-other-
                 federal-state-and-local-leaders-from-public-health-and-legal-
                 experts-in-the-united-states/]
          On March 23, 2020 CDC acknowledge that correctional and detention
          facilities “present unique challenges” for control of COVID-19
          transmission among incarcerated individuals.

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                   See Interim Guidance on Management of Coronavirus 2019 in
                   Correctional and Detention Facilities at:
                   https://www.cdc.gov/coronavirus/2019-ncov/downloads/guidance-
                   correctional-detention.pdf
        13. Plaintive, Jason Callicotte, is at a high risk of contracting COVID-19 due to
            a lowered immune system as a result of having Hepatitis C, high blood
            pressure, and seizure. Harris Health System and Harris County sheriff’s
            office have documented his conditions for over a decade.

            Plaintiff, Bryan Davis, is vulnerable to COVID-19 due to heart disease,
            hypertension, and seizures. All of these conditions are documented by
            Harris Health System and Harris County Sheriff’s Office.

            Plaintiff, Christian Mejia, is vulnerable to COVID-19 due to severe
            psoriasis, and complications from a previously punctured lung and six
            fractured ribs. This is documented by Harris Health System and Harris
            County Sheriff’s office.

            Plaintiff, Ashton Wilson, is vulnerable to COVID-19 due to diabetes,
            hypertension, and kidney and liver failure. These conditions are
            documented by Harris Health System and Harris County Sheriff’s Office.


                 V.      EXHAUSTION OF LEGAL REMEDIES

 14. Plaintiff, Jason Callicote, used the grievance procedure available at Harris County
     Jail to try and solve the problem. On March 23, 2020 plaintiff, Jason Callicote,
     presented the facts relating to this complaint. On 4/7/2020 plaintiff was given a
     response saying the grievance was unfounded. On 4/7/2020 he filed an appeal to
     the grievance, and nothing is being done and his life is in danger.


                             VI.     LEGAL CLAIMS

 15. Plaintiffs reallege and incorporate by reference paragraphs 1-14.

 16. The deliberate indifference, to a serious medical need, by jail administration
     (defendants Ed Gonzales and Darryl Coleman) by failing to protect plaintiffs from
     a known threat (coronavirus) to their health which puts them at risk of death
     constitutes a due process violation under the Fourteenth Amendment to The United
     States Constitution.


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   17. The plaintiffs have no plain, adequate, or complete remedy at law to redress the
       wrongs described herein. Plaintiffs have been and will continue to be irreparably
       injured by the conduct unless this court grants a temporary restraining order, and
       declaratory and injunctive relief which plaintiffs seek.


                             VII.     PREVIOUS LAWSUITS

   18. Plaintiff, Jason Callicote, has one strike under PLRA guidelines regarding lawsuits
       by incarcerated individuals.

   19. Plaintiffs Davis, Mejia, Williams, and Wilson have never filed any pro se actions.


                              VIII.   PRAYER FOR RELIEF
Wherefore, plaintiffs respectfully pray that this court enter a judgment granting plaintiffs:
   20. A temporary restraining order providing that:

       a. Defendants are restrained from detaining plaintiffs in any facility or under any
          conditions which do not allow social distancing practice of maintaining six feet
          between them and other people.

       b. That jail administration create a list of all individuals who are detained at Harris
          County Jail and meet any of the criteria contained in section c. below.

       c. All of the individuals who meet any of the following criteria:

               •   Are 60 years of age or older; or,
               •   Have chronic respiratory disease; or,
               •   Have a compromised immune system as from cancer, HIV, hepatitis;
                   or,
               •   Have heart disease; or,
               •   Have diabetes; or,
               •   Have epilepsy or another seizure disorder; or,
               •   Have hypertension; or,
               •   Have sickle cell; or,
               •   Have been pregnant in last two weeks or are pregnant

       d. Administration provide effective communication to all people incarcerated at
          Harris County Jail information about COVID-19 measures taken to reduce the
          risk of transmission and any changes in policies or practices to reasonably


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        ensure that individuals are able to take precautions to prevent infection, provide
        adequate spacing of 6 feet or more between people incarcerated at Harris
        County Jail so that social distancing can be accomplished and if it cannot be
        accomplished released the individuals on the list created by paragraphs b. and
        c. above.

    e. Provide reasonable access to showers and clean laundry

    f. Ensure that each incarcerated person receive free of charge

            •   Hand sanitizer of 60% alcohol base or greater; and,
            •   Hand drying machines or paper towels as recommended by CDC, and
                individual towels sufficient for daily use and adequate supplies of
                disinfectant product for daily cleaning; and,
            •   Adequate supply of toilet paper sufficient for daily use

    g. Require that all staff wear personal protective equipment, including masks and
       gloves when physically interacting with any person and require that, absent any
       extraordinary or unusual circumstances a new pair of gloves is worn each time
       staff touch a different person; and, require all inmate workers who are cleaning
       facilities, or preparing food to follow the same protocol

    h. Continue to waive all medical co-pays during this health crisis.

 21. A declaration that the acts or omissions of the defendants described herein violated
     the rights of the plaintiffs under the Constitution of the United States of America.

 22. A preliminary and permanent injunction ordering defendants to stop acting with
     deliberate indifference to plaintiffs serious medical need and to implement adequate
     prevention measures in regard to COVID-19.

 23. Any additional relief this court deems just.




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                                                                Respectfully submitted,
                                                       By /s/ William Pieratt Demond
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                                                      ATTORNEY FOR PLAINTIFFS


                           CERTIFICATE OF SERVICE


       I hereby certify that a true and correct copy of the foregoing document has been
served upon Defendants’ counsel via email.


                                                            /s/ William Pieratt Demond
                                                                William Pieratt Demond




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